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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                       450 Golden Gate Avenue
                                       San Francisco, CA 94102
                                       ___________________
                                         www.cand.uscourts.gov

Mark B. Busby                                                                  General Court Number
Clerk of Court                                                                         415-522-2000

                                            July 19, 2023



San Mateo County Superior Court
400 County Center
Redwood City, CA 94063

RE: Kyle Buffenmyer, et al. v. General Motors LLC
         3:23-cv-00739-CRB

Your Case Number: 23-CIV-00167

Dear Clerk,

       Pursuant to an order remanding the above captioned case to your court, transmitted
herewith are:
              ☒ Certified original and one copy of this letter
              ☒ Certified copy of docket sheet
              ☒ Certified copy of Minute Entry
      Please send an acknowledgement of receipt of these documents to
9Docketing@cand.uscourts.gov.

                                               Sincerely,

                                               Mark B. Busby, Clerk of Court


                                               by: William Noble
                                               Case Systems Administrator




REV. 10/21
